      Weekly Projections




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                                                HWC Burb's Burgers, LLC
                                            Projections 10/19/2023 - 2/17/2024


                                                   Oct 29-Nov 4            Nov 5-11       Nov 12-18      Nov 19-25
Net Revenue
       P Square                                      28,000.00              28,000.00     26,000.00       26,000.00
       Montlake
       Ballard                                       18,000.00              18,000.00     16,000.00       16,000.00
       Georgetown                                     8,000.00               8,000.00      8,000.00        8,000.00
       Bellevue                                      18,000.00              18,000.00     16,000.00       16,000.00
       Burien


Total Revenue                                        72,000.00              72,000.00     66,000.00       66,000.00


LABOR
       5601 · Labor                                                         59,000.00                     59,000.00
       5551 · Payroll Tax Expense                                            5,310.00                      5,310.00
       5570 · Medical Insurance                       7,500.00
       5595 · Officer Salary                                                               3,500.00        3,500.00
Total Labor Costs                                     7,500.00              64,310.00      3,500.00       67,810.00
COGS
       5617 Food and Bev Cost                        18,360.00              18,360.00     16,830.00       16,830.00
       5551 · Paper Goods                             1,440.00               1,440.00      1,320.00        1,320.00
Total Cost of Goods Sold                             19,800.00              19,800.00     18,150.00       18,150.00
OPERATING COSTS
1      5699 Fixed Operating Costs                     5,760.00               5,760.00      5,280.00        5,280.00
2      5698 Administrative Costs                      2,160.00               2,160.00      1,980.00        1,980.00
Total Operating Costs                                 7,920.00               7,920.00      7,260.00        7,260.00
Net Income Before Occ & Other                        36,780.00             (20,030.00)    37,090.00      (27,220.00)
OCCUPANCY
9018 · Rent
       P Square                                                                            8,000.00
       Montlake                                                                 450.00
       Ballard                                                               2,700.00
       Georgetown                                                            2,100.00
       Bellevue                                                              9,600.00
       Burien                                                                              1,500.00
Total Occupancy                                            0.00   0.00      14,850.00      9,500.00            0.00
Net Income before Debt                               36,780.00             (34,880.00)    27,590.00      (27,220.00)
     1 Fixed Operating costs:                                            Utilities             3000
                                                                         Supplies              1000
                                                                         Acctg                 1000
                                                                         Garbage                500
                                                                         Misc                   260


     2 Administrative costs                                              Marketing             1000
                                                                         Pay Processing         500
                                                                         Trustee                660


     3 Principal will contrubite sufficient funds to cover shortfalls




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                                            Nov 26-            Dec 3-       Dec 10-     Dec 17-          Dec 24-
                                             Dec 2             Dec 9        Dec16       Dec 23           Dec 30
Net Revenue
       P Square                             26,000.00         26,000.00     26,000.00   26,000.00        28,000.00
       Montlake
       Ballard                              16,000.00         16,000.00     16,000.00   16,000.00        19,000.00
       Georgetown                              8,000.00        8,000.00      8,000.00    8,000.00        10,000.00
       Bellevue                             16,000.00         16,000.00     16,000.00   16,000.00        19,000.00
       Burien


Total Revenue                               66,000.00         66,000.00     66,000.00   66,000.00        76,000.00


LABOR
       5601 · Labor                                           52,000.00                 52,000.00
       5551 · Payroll Tax Expense                              4,680.00                  4,680.00
       5570 · Medical Insurance                7,500.00                                                   7,500.00
       5595 · Officer Salary                   3,500.00        3,500.00      3,500.00    3,500.00         3,500.00
Total Labor Costs                           11,000.00         60,180.00      3,500.00   60,180.00        11,000.00
COGS
       5617 Food and Bev Cost               16,830.00         16,830.00     16,830.00   16,830.00        19,380.00
       5551 · Paper Goods                      1,320.00        1,320.00      1,320.00    1,320.00         1,520.00
Total Cost of Goods Sold                    18,150.00         18,150.00     18,150.00   18,150.00        20,900.00
OPERATING COSTS
1      5699 Fixed Operating Costs              5,280.00        5,280.00      5,280.00    5,280.00         6,080.00
2      5698 Administrative Costs               1,980.00        1,980.00      1,980.00    1,980.00         2,280.00
Total Operating Costs                          7,260.00        7,260.00      7,260.00    7,260.00         8,360.00
Net Income Before Occ & Other               29,590.00         (19,590.00)   37,090.00   (19,590.00)      35,740.00
OCCUPANCY                                                 f
9018 · Rent
       P Square                                                              8,000.00
       Montlake                                                  450.00
       Ballard                                                 2,700.00
       Georgetown                                              2,100.00
       Bellevue                                                9,600.00
       Burien                                                                1,500.00
Total Occupancy                                   0.00        14,850.00      9,500.00         0.00            0.00
Net Income before Debt                      29,590.00         (34,440.00)   27,590.00   (19,590.00)      35,740.00




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                                            Dec 31-       Jan 7-       Jan 14-       Jan 21-        Jan 28-
                                             Jan 6        Jan 13       Jan 20        Jan 27          Feb 3
Net Revenue
       P Square                             28,000.00     28,000.00    28,000.00     28,000.00     28,000.00
       Montlake                                                        10,000.00     10,000.00     10,000.00
       Ballard                              19,000.00     19,000.00    19,000.00     19,000.00     19,000.00
       Georgetown                           10,000.00     10,000.00    10,000.00     10,000.00     10,000.00
       Bellevue                             19,000.00     19,000.00    19,000.00     19,000.00     19,000.00
       Burien                                                          10,000.00     10,000.00     10,000.00


Total Revenue                               76,000.00     76,000.00    96,000.00     96,000.00     96,000.00


LABOR
       5601 · Labor                         65,000.00                  65,000.00                   65,000.00
       5551 · Payroll Tax Expense              5,850.00                 5,850.00                    5,850.00
       5570 · Medical Insurance                                                       7,500.00
       5595 · Officer Salary                   3,500.00    3,500.00     3,500.00      3,500.00      3,500.00
Total Labor Costs                           74,350.00      3,500.00    74,350.00     11,000.00     74,350.00
COGS
       5617 Food and Bev Cost               19,380.00     19,380.00    24,480.00     24,480.00     24,480.00
       5551 · Paper Goods                      1,520.00    1,520.00     1,920.00      1,920.00      1,920.00
Total Cost of Goods Sold                    20,900.00     20,900.00    26,400.00     26,400.00     26,400.00
OPERATING COSTS
1      5699 Fixed Operating Costs              6,080.00    6,080.00     7,680.00      7,680.00      7,680.00
2      5698 Administrative Costs               2,280.00    2,280.00     2,880.00      2,880.00      2,880.00
Total Operating Costs                          8,360.00    8,360.00    10,560.00     10,560.00     10,560.00
Net Income Before Occ & Other               (27,610.00)   43,240.00    (15,310.00)   48,040.00     (15,310.00)
OCCUPANCY
9018 · Rent
       P Square                                            8,000.00
       Montlake                                 450.00                                                450.00
       Ballard                                 2,700.00                                             2,700.00
       Georgetown                              2,100.00                                             2,100.00
       Bellevue                                9,600.00                                             9,600.00
       Burien                                              1,500.00
Total Occupancy                             14,850.00      9,500.00          0.00         0.00     14,850.00
Net Income before Debt                      (42,460.00)   33,740.00    (15,310.00)   48,040.00     (30,160.00)




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                                               Feb 4-      Feb 11-
                                               Feb 10      Feb 17             TOTAL
Net Revenue
       P Square                             28,000.00      28,000.00
       Montlake                             10,000.00      10,000.00
       Ballard                              19,000.00      19,000.00
       Georgetown                           10,000.00      10,000.00
       Bellevue                             19,000.00      19,000.00
       Burien                               10,000.00      10,000.00


Total Revenue                               96,000.00      96,000.00      $ 1,248,000.00
                                                                          $           -
LABOR
       5601 · Labor                                        65,000.00
       5551 · Payroll Tax Expense                           5,850.00
       5570 · Medical Insurance
       5595 · Officer Salary                   3,500.00     3,500.00
Total Labor Costs                              3,500.00    74,350.00      $   604,380.00   48%
COGS
       5617 Food and Bev Cost               24,480.00      24,480.00                        0%

       5551 · Paper Goods                      1,920.00     1,920.00                        0%
Total Cost of Goods Sold                    26,400.00      26,400.00      $   343,200.00   28%
OPERATING COSTS
1      5699 Fixed Operating Costs              7,680.00     7,680.00
2      5698 Administrative Costs               2,880.00     2,880.00
Total Operating Costs                       10,560.00      10,560.00      $   137,280.00   11%
Net Income Before Occ & Other               55,540.00      (15,310.00)    $   163,140.00   13%
OCCUPANCY
9018 · Rent
       P Square                                8,000.00
       Montlake
       Ballard
       Georgetown
       Bellevue
       Burien                                  1,500.00
Total Occupancy                                9,500.00           0.00    $    97,400.00
Net Income before Debt                      46,040.00      (15,310.00)    $    65,740.00   5%




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